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              NOT YET SCHEDULED FOR ORAL ARGUMENT


                                  No. 16-7078


               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


                              WILLIAM PIERCE,
                                 APPELLEE,

                                       v.

                         DISTRICT OF COLUMBIA,
                               APPELLANT.


   ON APPEAL FROM A JUDGMENT OF THE UNITED STATES DISTRICT
             COURT FOR THE DISTRICT OF COLUMBIA


                     JOINT NOTICE OF SETTLEMENT


        The parties, through counsel, give notice that they have reached a

  settlement in this matter, which resolves the pending appeal. The parties

  anticipate they will be able to file a Stipulation of Dismissal on or before

  November 21, 2016.
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              RESPECTFULLY SUBMITTED this 27th day of October, 2016.

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                          CERTIFICATE OF SERVICE

         I certify that on October 27, 2016, I electronically filed the foregoing
  with the Clerk of the Court for the United States Court of Appeals for the
  District of Columbia Circuit by using the appellate CM/ECF system.

        Participants in the case who are registered CM/ECF users will be served
  by the appellate CM/ECF system.

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